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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA



FEDERAL TRADE COMMISSION,

              Plaintiff,
                                             Case No. 1:20-cv-03590-JEB
         v.

META PLATFORMS, INC.,

              Defendant.




   EXHIBIT INDEX AND DEPONENT INDEX TO RULE 7(H) STATEMENT IN
SUPPORT OF META PLATFORMS, INC.’S MOTION FOR SUMMARY JUDGMENT
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                             EXHIBIT INDEX

Exhibit Volume                                                        Sealing
                             Exhibit Description
 No.     No.                                                         Treatment
                                                                      UNDER
  1       1
                                                                       SEAL
                                                                      UNDER
  2       1
                                                                       SEAL
                                                                      UNDER
  3       1
                                                                       SEAL
                                                                      UNDER
  4       1
                                                                       SEAL
                                                                      UNDER
  5       1
                                                                       SEAL
                                                                      UNDER
  6       1
                                                                       SEAL
                                                                      UNDER
  7       1
                                                                       SEAL
                                                                      UNDER
  8       2
                                                                       SEAL
                                                                      UNDER
  9       2
                                                                       SEAL
                                                                      UNDER
  10      2
                                                                       SEAL

                                                                      UNDER
  11      2
                                                                       SEAL

                                                                      UNDER
  12      2
                                                                       SEAL

                                                                      UNDER
  13      2
                                                                       SEAL



                                                                      UNDER
  14      2
                                                                       SEAL



                                                                      UNDER
  15      2
                                                                       SEAL



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Exhibit Volume                                                        Sealing
                             Exhibit Description
 No.     No.                                                         Treatment
                                                                      UNDER
  16      2
                                                                       SEAL
                                                                      UNDER
  17      3
                                                                       SEAL

                                                                      UNDER
  18      3
                                                                       SEAL

                                                                      UNDER
  19      3
                                                                       SEAL
                                                                      UNDER
  20      3
                                                                       SEAL
                                                                      UNDER
  21      3
                                                                       SEAL

                                                                      UNDER
  22      3
                                                                       SEAL

                                                                      UNDER
  23      3
                                                                       SEAL

                                                                      UNDER
  24      4
                                                                       SEAL
                                                                      UNDER
  25      4
                                                                       SEAL
                                                                      UNDER
  26      4
                                                                       SEAL
                                                                      UNDER
  27      4
                                                                       SEAL
                                                                      UNDER
  28      4
                                                                       SEAL
                                                                      UNDER
  29      4
                                                                       SEAL
                                                                      UNDER
  30      4
                                                                       SEAL

                                                                      UNDER
  31      4
                                                                       SEAL

                                                                      UNDER
  32      4
                                                                       SEAL


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Exhibit Volume                                                        Sealing
                             Exhibit Description
 No.     No.                                                         Treatment
                                                                      UNDER
  33      4
                                                                       SEAL
                                                                      UNDER
  34      4
                                                                       SEAL

                                                                      UNDER
  35      4
                                                                       SEAL

                                                                      UNDER
  36      4
                                                                       SEAL
                                                                      UNDER
  37      4
                                                                       SEAL
                                                                      UNDER
  38      4
                                                                       SEAL
                                                                      UNDER
  39      5
                                                                       SEAL
                                                                      UNDER
  40      5
                                                                       SEAL
                                                                      UNDER
  41      5
                                                                       SEAL
                                                                      UNDER
  42      5
                                                                       SEAL
                                                                      UNDER
  43      5
                                                                       SEAL
                                                                      UNDER
  44      5
                                                                       SEAL
                                                                      UNDER
  45      5
                                                                       SEAL
                                                                      UNDER
  46      5
                                                                       SEAL
                                                                      UNDER
  47      5
                                                                       SEAL
                                                                      UNDER
  48      5
                                                                       SEAL
                                                                      UNDER
  49      5
                                                                       SEAL
                                                                      UNDER
  50      5
                                                                       SEAL



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Exhibit Volume                                                        Sealing
                             Exhibit Description
 No.     No.                                                         Treatment

                                                                      UNDER
  51      5
                                                                       SEAL

                                                                      UNDER
  52      5
                                                                       SEAL

                                                                      UNDER
  53      5
                                                                       SEAL

                                                                      UNDER
  54      5
                                                                       SEAL

                                                                      UNDER
  55      5
                                                                       SEAL

                                                                      UNDER
  56      5
                                                                       SEAL

                                                                      UNDER
  57      5
                                                                       SEAL
                                                                      UNDER
  58      5
                                                                       SEAL

                                                                      UNDER
  59      5
                                                                       SEAL

                                                                      UNDER
  60      5
                                                                       SEAL

                                                                      UNDER
  61      5
                                                                       SEAL

                                                                      UNDER
  62      5
                                                                       SEAL

                                                                      UNDER
  63      6
                                                                       SEAL
                                                                      UNDER
  64      6
                                                                       SEAL




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Exhibit Volume                                                        Sealing
                             Exhibit Description
 No.     No.                                                         Treatment
                                                                      UNDER
  65      6
                                                                       SEAL

                                                                      UNDER
  66      6
                                                                       SEAL

                                                                      UNDER
  67      6
                                                                       SEAL

                                                                      UNDER
  68      6
                                                                       SEAL

                                                                      UNDER
  69      6
                                                                       SEAL
                                                                      UNDER
  70      6
                                                                       SEAL

                                                                      UNDER
  71      6
                                                                       SEAL

                                                                      UNDER
  72      6
                                                                       SEAL
                                                                      UNDER
  73      6
                                                                       SEAL
                                                                      UNDER
  74      6
                                                                       SEAL

                                                                      UNDER
  75      6
                                                                       SEAL

                                                                      UNDER
  76      7
                                                                       SEAL
                                                                      UNDER
  77      7
                                                                       SEAL

                                                                      UNDER
  78      7
                                                                       SEAL

                                                                      UNDER
  79      7
                                                                       SEAL




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Exhibit Volume                                                        Sealing
                             Exhibit Description
 No.     No.                                                         Treatment

                                                                      UNDER
  80      7
                                                                       SEAL

                                                                      UNDER
  81      7
                                                                       SEAL
                                                                      UNDER
  82      7
                                                                       SEAL
                                                                      UNDER
  83      7
                                                                       SEAL
                                                                      UNDER
  84      7
                                                                       SEAL

                                                                      UNDER
  85      7
                                                                       SEAL

                                                                      UNDER
  86      7
                                                                       SEAL
                                                                      UNDER
  87      7
                                                                       SEAL
                                                                      UNDER
  88      7
                                                                       SEAL
                                                                      UNDER
  89      7
                                                                       SEAL
                                                                      UNDER
  90      7
                                                                       SEAL
                                                                      UNDER
  91      7
                                                                       SEAL
                                                                      UNDER
  92      7
                                                                       SEAL
                                                                      UNDER
  93      7
                                                                       SEAL
                                                                      UNDER
  94      7
                                                                       SEAL
                                                                      UNDER
  95      8
                                                                       SEAL
                                                                      UNDER
  96      8
                                                                       SEAL
                                                                      UNDER
  97      8
                                                                       SEAL


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Exhibit Volume                                                        Sealing
                             Exhibit Description
 No.     No.                                                         Treatment

                                                                      UNDER
  98      8
                                                                       SEAL

                                                                      UNDER
  99      8
                                                                       SEAL

                                                                      UNDER
 100      8
                                                                       SEAL
                                                                      UNDER
 101      8
                                                                       SEAL
                                                                      UNDER
 102      8
                                                                       SEAL

                                                                      UNDER
 103      8
                                                                       SEAL

                                                                      UNDER
 104      8
                                                                       SEAL


                                                                      UNDER
 105      8
                                                                       SEAL


                                                                      UNDER
 106      9
                                                                       SEAL

                                                                      UNDER
 107      9
                                                                       SEAL

                                                                      UNDER
 108      9
                                                                       SEAL

                                                                      UNDER
 109      9
                                                                       SEAL

                                                                      UNDER
 110      9
                                                                       SEAL
                                                                      UNDER
 111      9
                                                                       SEAL




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Exhibit Volume                                                        Sealing
                             Exhibit Description
 No.     No.                                                         Treatment

                                                                      UNDER
 112      9
                                                                       SEAL

                                                                      UNDER
 113      9
                                                                       SEAL

                                                                      UNDER
 114     10
                                                                       SEAL

                                                                      UNDER
 115     10
                                                                       SEAL

                                                                      UNDER
 116     10
                                                                       SEAL

                                                                      UNDER
 117     10
                                                                       SEAL

                                                                      UNDER
 118     10
                                                                       SEAL



                                                                      UNDER
 119     10
                                                                       SEAL


                                                                      UNDER
 120     10
                                                                       SEAL

                                                                      UNDER
 121     11
                                                                       SEAL

                                                                      UNDER
 122     11
                                                                       SEAL

                                                                      UNDER
 123     11
                                                                       SEAL

                                                                      UNDER
 124     11
                                                                       SEAL


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Exhibit Volume                                                       Sealing
                             Exhibit Description
 No.     No.                                                        Treatment

                                                                      UNDER
 125     12
                                                                       SEAL

                                                                      UNDER
 126     12
                                                                       SEAL

                                                                      UNDER
 127     12
                                                                       SEAL

                                                                      UNDER
 128     12
                                                                       SEAL

                                                                      UNDER
 129     13
                                                                       SEAL

                                                                      UNDER
 130     13
                                                                       SEAL

                                                                      UNDER
 131     13
                                                                       SEAL
                                                                      UNDER
 132     13
                                                                       SEAL

                                                                      UNDER
 133     13
                                                                       SEAL

                                                                      UNDER
 134     13
                                                                       SEAL
                                                                      UNDER
 135     13
                                                                       SEAL
                                                                      UNDER
 136     13
                                                                       SEAL
                                                                      UNDER
 137     13
                                                                       SEAL

                                                                      UNDER
 138     13
                                                                       SEAL

                                                                      UNDER
 139     14
                                                                       SEAL
                                                                      UNDER
 140     14
                                                                       SEAL


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Exhibit Volume                                                       Sealing
                             Exhibit Description
 No.     No.                                                        Treatment
                                                                      UNDER
 141     14
                                                                       SEAL
                                                                      UNDER
 142     14
                                                                       SEAL
                                                                      UNDER
 143     14
                                                                       SEAL
                                                                      UNDER
 144     14
                                                                       SEAL
                                                                      UNDER
 145     14
                                                                       SEAL
                                                                      UNDER
 146     14
                                                                       SEAL
                                                                      UNDER
 147     14
                                                                       SEAL
                                                                      UNDER
 148     14
                                                                       SEAL
                                                                      UNDER
 149     14
                                                                       SEAL
                                                                      UNDER
 150     14
                                                                       SEAL
                                                                      UNDER
 151     14
                                                                       SEAL
                                                                      UNDER
 152     14
                                                                       SEAL
                                                                      UNDER
 153     14
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                                                                      UNDER
 154     14
                                                                       SEAL
                                                                      UNDER
 155     14
                                                                       SEAL
                                                                      UNDER
 156     14
                                                                       SEAL
                                                                      UNDER
 157     14
                                                                       SEAL
                                                                      UNDER
 158     14
                                                                       SEAL
                                                                      UNDER
 159     14
                                                                       SEAL


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Exhibit Volume                                                       Sealing
                             Exhibit Description
 No.     No.                                                        Treatment
                                                                      UNDER
 160     14
                                                                       SEAL
                                                                      UNDER
 161     14
                                                                       SEAL
                                                                      UNDER
 162     14
                                                                       SEAL
                                                                      UNDER
 163     14
                                                                       SEAL
                                                                      UNDER
 164     14
                                                                       SEAL
                                                                      UNDER
 165     14
                                                                       SEAL
                                                                      UNDER
 166     14
                                                                       SEAL
                                                                      UNDER
 167     14
                                                                       SEAL
                                                                      UNDER
 168     14
                                                                       SEAL
                                                                      UNDER
 169     14
                                                                       SEAL
                                                                      UNDER
 170     14
                                                                       SEAL

                                                                      UNDER
 171     14
                                                                       SEAL

                                                                      UNDER
 172     14
                                                                       SEAL

                                                                      UNDER
 173     15
                                                                       SEAL

                                                                      UNDER
 174     15
                                                                       SEAL
                                                                      UNDER
 175     15
                                                                       SEAL

                                                                      UNDER
 176     15
                                                                       SEAL




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                             Exhibit Description
 No.     No.                                                        Treatment
                                                                      UNDER
 177     15
                                                                       SEAL
                                                                      UNDER
 178     15
                                                                       SEAL
                                                                      UNDER
 179     15
                                                                       SEAL
                                                                      UNDER
 180     15
                                                                       SEAL
                                                                      UNDER
 181     15
                                                                       SEAL
                                                                      UNDER
 182     15
                                                                       SEAL
                                                                      UNDER
 183     15
                                                                       SEAL

                                                                      UNDER
 184     15
                                                                       SEAL

                                                                      UNDER
 185     15
                                                                       SEAL

                                                                      UNDER
 186     15
                                                                       SEAL

                                                                      UNDER
 187     15
                                                                       SEAL

                                                                      UNDER
 188     15
                                                                       SEAL

                                                                      UNDER
 189     15
                                                                       SEAL

                                                                      UNDER
 190     15
                                                                       SEAL

                                                                      UNDER
 191     15
                                                                       SEAL

                                                                      UNDER
 192     15
                                                                       SEAL



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                             Exhibit Description
 No.     No.                                                        Treatment
                                                                      UNDER
 193     15
                                                                       SEAL

                                                                      UNDER
 194     15
                                                                       SEAL

                                                                      UNDER
 195     15
                                                                       SEAL

                                                                      UNDER
 196     15
                                                                       SEAL

                                                                      UNDER
 197     15
                                                                       SEAL

                                                                      UNDER
 198     15
                                                                       SEAL

                                                                      UNDER
 199     15
                                                                       SEAL

                                                                      UNDER
 200     15
                                                                       SEAL

                                                                      UNDER
 201     15
                                                                       SEAL

                                                                      UNDER
 202     15
                                                                       SEAL

                                                                      UNDER
 203     15
                                                                       SEAL
                                                                      UNDER
 204     15
                                                                       SEAL
                                                                      UNDER
 205     15
                                                                       SEAL

                                                                      UNDER
 206     15
                                                                       SEAL

                                                                      UNDER
 207     15
                                                                       SEAL



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                             Exhibit Description
 No.     No.                                                        Treatment

                                                                      UNDER
 208     15
                                                                       SEAL

                                                                      UNDER
 209     15
                                                                       SEAL

                                                                      UNDER
 210     15
                                                                       SEAL

                                                                      UNDER
 211     15
                                                                       SEAL

                                                                      UNDER
 212     15
                                                                       SEAL
                                                                      UNDER
 213     15
                                                                       SEAL
                                                                      UNDER
 214     15
                                                                       SEAL

                                                                      UNDER
 215     15
                                                                       SEAL

                                                                      UNDER
 216     16
                                                                       SEAL
                                                                      UNDER
 217     16
                                                                       SEAL
                                                                      UNDER
 218     16
                                                                       SEAL
                                                                      UNDER
 219     16
                                                                       SEAL
                                                                      UNDER
 220     16
                                                                       SEAL

                                                                      UNDER
 221     16
                                                                       SEAL

                                                                      UNDER
 222     16
                                                                       SEAL




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                             Exhibit Description
 No.     No.                                                        Treatment

                                                                      UNDER
 223     17
                                                                       SEAL

                                                                      UNDER
 224     17
                                                                       SEAL


                                                                      UNDER
 225     17
                                                                       SEAL


                                                                      UNDER
 226     17
                                                                       SEAL

                                                                      UNDER
 227     17
                                                                       SEAL

                                                                      UNDER
 228     17
                                                                       SEAL

                                                                      UNDER
 229     17
                                                                       SEAL

                                                                      UNDER
 230     17
                                                                       SEAL

                                                                      UNDER
 231     17
                                                                       SEAL

                                                                      UNDER
 232     17
                                                                       SEAL

                                                                      UNDER
 233     17
                                                                       SEAL

                                                                      UNDER
 234     17
                                                                       SEAL

                                                                      UNDER
 235     17
                                                                       SEAL




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Exhibit Volume                                                       Sealing
                             Exhibit Description
 No.     No.                                                        Treatment
                                                                      UNDER
 236     17
                                                                       SEAL
                                                                      UNDER
 237     17
                                                                       SEAL

                                                                      UNDER
 238     17
                                                                       SEAL

                                                                      UNDER
 239     17
                                                                       SEAL

                                                                      UNDER
 240     17
                                                                       SEAL

                                                                      UNDER
 241     17
                                                                       SEAL

                                                                      UNDER
 242     17
                                                                       SEAL

                                                                      UNDER
 243     17
                                                                       SEAL

                                                                      UNDER
 244     17
                                                                       SEAL

                                                                      UNDER
 245     18
                                                                       SEAL

                                                                      UNDER
 246     18
                                                                       SEAL

                                                                      UNDER
 247     18
                                                                       SEAL

                                                                      UNDER
 248     18
                                                                       SEAL

                                                                      UNDER
 249     18
                                                                       SEAL



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Exhibit Volume                                                       Sealing
                             Exhibit Description
 No.     No.                                                        Treatment

                                                                      UNDER
 250     18
                                                                       SEAL

                                                                      UNDER
 251     18
                                                                       SEAL

                                                                      UNDER
 252     18
                                                                       SEAL
                                                                      UNDER
 253     18
                                                                       SEAL

                                                                      UNDER
 254     19
                                                                       SEAL

                                                                      UNDER
 255     19
                                                                       SEAL
                                                                      UNDER
 256     19
                                                                       SEAL

                                                                      UNDER
 257     19
                                                                       SEAL

                                                                      UNDER
 258     19
                                                                       SEAL
                                                                      UNDER
 259     19
                                                                       SEAL

                                                                      UNDER
 260     19
                                                                       SEAL

                                                                      UNDER
 261     19
                                                                       SEAL

                                                                      UNDER
 262     19
                                                                       SEAL


                                                                      UNDER
 263     19
                                                                       SEAL




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Exhibit Volume                                                       Sealing
                             Exhibit Description
 No.     No.                                                        Treatment
                                                                      UNDER
 264     20
                                                                       SEAL
                                                                      UNDER
 265     20
                                                                       SEAL
                                                                      UNDER
 266     20
                                                                       SEAL

                                                                      UNDER
 267     20
                                                                       SEAL

                                                                      UNDER
 268     20
                                                                       SEAL

                                                                      UNDER
 269     20
                                                                       SEAL
                                                                      UNDER
 270     20
                                                                       SEAL

                                                                      UNDER
 271     20
                                                                       SEAL

                                                                      UNDER
 272     20
                                                                       SEAL

                                                                      UNDER
 273     21
                                                                       SEAL

                                                                      UNDER
 274     21
                                                                       SEAL

                                                                      UNDER
 275     21
                                                                       SEAL

                                                                      UNDER
 276     21
                                                                       SEAL

                                                                      UNDER
 277     21
                                                                       SEAL




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Exhibit Volume                                                       Sealing
                             Exhibit Description
 No.     No.                                                        Treatment

                                                                      UNDER
 278     21
                                                                       SEAL

                                                                      UNDER
 279     22
                                                                       SEAL
                                                                      UNDER
 280     22
                                                                       SEAL
                                                                      UNDER
 281     22
                                                                       SEAL
                                                                      UNDER
 282     22
                                                                       SEAL
                                                                      UNDER
 283     22
                                                                       SEAL
                                                                      UNDER
 284     22
                                                                       SEAL
                                                                      UNDER
 285     22
                                                                       SEAL
                                                                      UNDER
 286     22
                                                                       SEAL
                                                                      UNDER
 287     22
                                                                       SEAL
                                                                      UNDER
 288     22
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                                                                      UNDER
 289     22
                                                                       SEAL
                                                                      UNDER
 290     22
                                                                       SEAL
                                                                      UNDER
 291     22
                                                                       SEAL
                                                                      UNDER
 292     22
                                                                       SEAL

                                                                      UNDER
 293     22
                                                                       SEAL

                                                                      UNDER
 294     22
                                                                       SEAL
                                                                      UNDER
 295     22
                                                                       SEAL


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                             Exhibit Description
 No.     No.                                                        Treatment
                                                                      UNDER
 296     22
                                                                       SEAL
                                                                      UNDER
 297     22
                                                                       SEAL

                                                                      UNDER
 298     22
                                                                       SEAL

                                                                      UNDER
 299     22
                                                                       SEAL
                                                                      UNDER
 300     22
                                                                       SEAL
                                                                      UNDER
 301     22
                                                                       SEAL
                                                                      UNDER
 302     23
                                                                       SEAL
                                                                      UNDER
 303     23
                                                                       SEAL

                                                                      UNDER
 304     23
                                                                       SEAL

                                                                      UNDER
 305     23
                                                                       SEAL


                                                                      UNDER
 306     23
                                                                       SEAL


                                                                      UNDER
 307     23
                                                                       SEAL

                                                                      UNDER
 308     23
                                                                       SEAL

                                                                      UNDER
 309     23
                                                                       SEAL
                                                                      UNDER
 310     23
                                                                       SEAL
                                                                      UNDER
 311     23
                                                                       SEAL


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Exhibit Volume                                                                 Sealing
                                 Exhibit Description
 No.     No.                                                                  Treatment
                                                                                UNDER
 312     23
                                                                                 SEAL
                                                                                UNDER
 313     23
                                                                                 SEAL
                                                                                UNDER
 314     23
                                                                                 SEAL
                                                                                UNDER
 315     23
                                                                                 SEAL

                                                                                UNDER
 316     23
                                                                                 SEAL

                                                                                UNDER
 317     23
                                                                                 SEAL

                                                                                UNDER
 318     23
                                                                                 SEAL

                                                                                UNDER
 319     23
                                                                                 SEAL

                                                                                UNDER
 320     23
                                                                                 SEAL

                                                                                UNDER
 321     23
                                                                                 SEAL

                                                                                UNDER
 322     23
                                                                                 SEAL
                 Email from Amy Cole to Suzie Ryu re Artists Wanted with
                                                                               SEALED
 323     23      attachments (Mar. 18, 2012), PX10556,
                                                                               IN PART
                 FTC-META-000018842
                 Meta’s Suppl. Objs. & Resps. to FTC’s Interrog. No. 2
 324     24                                                                    PUBLIC
                 (Sept. 9, 2022)
                 Meta Platforms, Inc., 2023 Annual Report (Form 10-K)
 325     24                                                                    PUBLIC
                 (Feb. 1, 2024)
 326     24      Facebook, Pages, https://perma.cc/W4ZR-BJFP                   PUBLIC
 327     24      Meta, Groups, https://perma.cc/8HD4-X8SJ?type=image           PUBLIC
 328     24      Facebook, Marketplace, https://perma.cc/892J-5M9G             PUBLIC



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                                 Exhibit Description
 No.     No.                                                                Treatment
                 Facebook, Facebook Stories: An Introduction for Content
 329     24                                                                  PUBLIC
                 Creators, https://perma.cc/F8F4-TN7K
                 Facebook Newsroom, Video on Facebook Keeps Getting
 330     24                                                                  PUBLIC
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Dated: April 5, 2024                      Respectfully submitted,

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